              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION
                                2:06cr12


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                         ORDER
                                       )
ADRIAN JERALD FREEMAN.                 )
                                       )
                 Defendant.            )
______________________________________ )


       THIS CAUSE coming on to be heard and being heard before the undersigned,

pursuant to a motion filed by the defendant on December 11, 2006 entitled, “Motion to

Modify Conditions of Release.” (#112) It appearing to the court at the call of this matter on

for hearing that the defendant was present with his attorney, David Belser and that Donald

Gast, Assistant United States Attorney, was present representing the government and from

the records in this cause, the evidence presented and the arguments of counsel for the

defendant and the Assistant United States Attorney, the undersigned makes the following

findings:

       Findings: The defendant was charged in a bill of indictment filed on April 26, 2006

with conspiracy to distribute methamphetamine and furtherance of such drug trafficking

crime, possessing a firearm. On the 15 th of May 2006, the undersigned entered an order after

considering the factors under 18 U.S.C. § 3142(g) detaining the defendant for a period of 45

to 90 days and to further order that during that period of time the defendant be placed in the

Jail Based Inpatient Treatment Program which had been developed by the United States


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Probation Office. The undersigned further ordered that upon successful completion of the

program, defendant’s counsel should file a motion requesting the court reconsider the issue

of the defendant’s detention based upon a change of circumstances, that being the

defendant’s completion of the Jail Based Inpatient Treatment Program. On July 13, 2006,

Mr. Belser filed a notice advising the defendant was schedule to complete the Jail Based

Inpatient Treatment Program on July 19, 2006 and requested the undersigned reconsider the

issue of detention.   On July 20 th , after hearing evidence from the defendant and the

government, the undersigned entered an order releasing the defendant on terms and

conditions of pretrial release. Those conditions included placing the defendant on electronic

monitoring and further placing the defendant in the custody of his mother, Anita Freeman.

The next day, on July 21, 2006, Ms. Freeman returned the defendant to the court and advised

that the defendant had objected to residing in her home. The undersigned entered an oral

order revoking the terms and conditions of pretrial release and detaining the defendant. On

July 26, 2006, the undersigned entered a written order setting forth findings as to the reasons

for revocation of the terms and conditions of the pretrial release of the defendant. On August

4, 2006, the defendant appeared before the court and entered a plea of guilty to the charges

contained in the bill of indictment. On December 11, 2006, Mr. Belser filed a motion

entitled, “Motion to Modify Conditions of Release” and set forth in the motion that the

defendant’s father was willing to act as a custodian for the defendant if the defendant was

released on terms and conditions of pretrial release.

       The undersigned heard testimony from William B. Freeman, the father of the



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defendant, and also from Anita Freeman, the defendant’s mother. Mr. Freeman testified that

he lived in the Balsam Community of Jackson County and that he was employed as a lineman

for Duke Power Company. Mr. Freeman’s testimony showed that he would be a fit and

suitable person to act as a custodian for the defendant. Ms. Freeman testified that although

she and Mr. Freeman are separated, that they have a good relationship in regard to their son

and that she was more than willing to assist in acting as a custodian for her son. She further

advised the court that the defendant had apologized profusely to her for his actions of July

20 and 21, 2006. Neither Mr. or Mrs. Freeman have any type of criminal record and would

be excellent persons to act as custodians for the defendant.

       Discussion. Initially, the undersigned brought to the attention of the parties the issue

of whether or not the court should apply the factors set forth under 18 U.S.C. § 3142 in

determining whether or not to release the defendant or if the court should apply 18 U.S.C.

§ 3143. 18 U.S.C. § 3143 provides as follows:

       (a) Release or detention pending sentence. —(1) Except as provided in
       paragraph (2), the judicial officer shall order that a person who has been found
       guilty of an offense and who is awaiting imposition or execution of sentence,
       other than a person for whom the applicable guideline promulgated pursuant
       to 28 U.S.C. § 994 does not recommend a term of imprisonment, be detained,
       unless the judicial officer finds by clear and convincing evidence that the
       person is not likely to flee or pose a danger to the safety of any other person
       or the community if released under section 3142(b) or (c). If the judicial
       officer makes such finding, such judicial officer shall order the release of the
       person in accordance with section 3142(b) or (c).
          (2) The judicial officer shall order that a person who has been found guilty
       of an offense in a case described in subparagraph (A), (B), or (C) of subsection
       (f)(1) of section 3142 and is awaiting imposition or execution of sentence be
       detained unless--
               (A)(i) the judicial officer finds there is a substantial likelihood that a
               motion for acquittal or new trial will be granted; or


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                (ii) an attorney for the Government has recommended that no sentence
                of imprisonment be imposed on the person; and
                (B) the judicial officer finds by clear and convincing evidence that the
                person is not likely to flee or pose a danger to any other person or the
                community


       The undersigned determined to apply the factors as set forth under 18 U.S.C. § 3142

rather than 18 U.S.C.§ 3143 for the following reasons:

       1)       The motion of the defendant was a motion asking that the court reconsider and

modify previously issued conditions of release. As set forth above, the undersigned had

initially entered an order detaining the defendant so that the defendant could complete the

Jail Based Inpatient Treatment Program.         The defendant did so and as a result, the

undersigned entered an order releasing the defendant on terms and conditions of pretrial

release. Within one day, the defendant declined to comply with those conditions and the

terms and conditions of pretrial release were revoked. The defendant is now asking the court

to reconsider that revocation which the undersigned determines would be under the

provisions of 18 U.S.C. § 3142(f)(2) which allows the hearing to be reopened at any time

before trial.

       2)       The second reason that the undersigned has determined to apply the factors as

set forth under 18 U.S.C. § 3142 is based upon the language as is set forth in 18 U.S.C. §

3143. 18 U.S.C. § 3143 uses the language as follows: “a person who has been found guilty

of an offense”. The defendant has entered a plea of guilty but he has not been “found guilty”.

This language was discussed in United States v Bloomer, 967 F.2d 761, (2d Cir. 1992). In

Bloomer the 2 nd Circuit discussed the language in the statute as follows: “The terms applied


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to various steps in the criminal process do not always have the same meaning. Instead, their

meanings vary depending on the statute, rule, or other source of law in which the term is

used.” The 2 nd Circuit found that the language “found guilty of an offense” meant a jury’s

guilty verdict. In this case, the defendant has entered a plea of guilty. He was not found

guilty by a jury. As stated in the Rule 11 inquiry, even though the defendant has entered a

plea of guilty there are two remaining steps that the District Court has to determine. That

being:

         a)     Whether there is a factual basis for his plea; and

         b)     What sentence to impose.

         As a result of the foregoing two considerations, the undersigned determined to

consider the release of the defendant under 3142. 18 U.S.C. § 3142(f) specifically states:

         the hearing may be reopened, before, or after a determination by the judicial

         officer, at any time before trial if the judicial officer finds that information

         exists that was not known to the movant at the time of the hearing and that has

         a material bearing on the issue whether there are conditions of release that

         would reasonably assure the appearance of such person as required and the

         safety of any other person and the community.

 The undersigned finds that the offer of a custodian type release of the defendant to both his

mother and father would be such a change of circumstances.               The undersigned has

reconsidered all factors as set forth under 18 U.S.C. § 3142(g) and finds the following:

         (1)    The nature and circumstances of the offense charged do involve a narcotic



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drug;

        (2)   The weight of the evidence against the defendant appears to be significant. The

defendant has tendered a plea of guilty;




        (3)    In regard to the history and characteristics of the person, the defendant has

family ties, has consistently had employment during his lifetime and has a long length of

residence in the Jackson County community. His history relating to drug or alcohol abuse

consists of a history of approximately one year of methamphetamine use. The defendant has

no convictions for any type of alcohol offense. The defendant’s criminal history shows a

conviction in August 2005 for second degree trespassing; in May 2005 for failure to pay

child support and he has one charge of possession of drug paraphernalia and another charge

of obtaining property by false pretense that are pending. The defendant did fail to appear in

regard to the possession of drug paraphernalia charge. During the period alleged in the bill

of indictment, the defendant was on unsupervised probation for the crime of second degree

trespassing and he had been released on bond on the charge of possession of drug

paraphernalia.

        (4)    In regard to the nature and seriousness of the danger to any person or the

community that would be posed by his release, it appears that the defendant is thirty years

old and that until May 2005 the defendant did not have any criminal record other than a safe

movement violation. He had been gainfully employed at Duke Power Company and at other

types of employment and was further employed as a bulldozer operator with Bear Paw



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Construction Company in Franklin at the time of his arrest. His mother and father appear to

be solid, responsible, hard-working individuals who have promised to supervise the

defendant in accordance with all conditions of release and to use every effort to assure his

appearance at all scheduled court proceedings and to notify the court immediately in the

event the defendant violates any condition of release or disappears. He has successfully

completed the Jail Based Inpatient Treatment Program. As a result, the undersigned

determined that the release of the defendant would not create a danger to any other person

or the community. There has not been shown by a preponderance of the evidence that the

release of the defendant would create a risk of flight. The defendant has never resided

anywhere during his lifetime other than Jackson County, North Carolina.

       Based upon the foregoing, the undersigned has determined to enter an order releasing

the defendant consistent with the terms and conditions as set forth in the order setting

conditions of release that has been executed by the defendant, his mother and father, and the

undersigned and which are incorporated herewith. The government has advised the court

that the government wishes to appeal this order and as a result the undersigned will stay the

release of the defendant so that the District Court can have sufficient opportunity to hear

arguments from the Assistant United States Attorney and the defendant’s counsel as to the

rulings made by the undersigned.

                                          ORDER

       WHEREFORE, it is the ORDER of the court:

       1)     That the defendant’s “Motion to Modify Conditions of Release” (#112) is



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hereby ALLOWED and the defendant is ordered to be released on terms and conditions of

pretrial release which are incorporated herein.

       2)     That this order is STAYED pending appeal by the government and the

consideration of the appeal by the District Court.




                                             Signed: December 28, 2006




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